Case 4:16-md-02700-TCK-JFJ Document 207 Filed in USDC ND/OK on 05/08/17 Page 1 of 17




                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OKLAHOMA

   IN RE: GENENTECH HERCEPTIN                   )
   (TRASTUZUMAB) MARKETING                      )       MDL DOCKET NO. 16-MD-2700
   AND SALES PRACTICES                          )       ALL CASES
   LITIGATION                                   )
                                                                       FILED UNDER SEAL

                                       OPINION AND ORDER

          Before the Court are Plaintiffs’ Motion to Compel (Doc. 64) and Defendant’s Motion for

   Protective Order (Doc. 124). These pending motions are construed to seek production of all

   unanswered preemption discovery requested by Plaintiffs to date, as set forth in the Parties’ Joint

   Submission Regarding Preemption Discovery (“JDS”) (Doc. 130).

   I.     Procedural History

          As set forth in the Court’s Order Opinion and Order dated March 28, 2017 (“3/28 Order”)

   (Doc. 187), the Court decided to maintain Phase I despite delays caused by the pending discovery

   disputes.1 Phase I is governed by Case Management Order #1 (Doc. 39 (explaining Phase I)) and

   Case Management Order #2 (Doc. 188 (amending Phase I deadlines)). Phase I is limited to

   discovery and briefing on Defendant’s Amended Motion for Summary Judgment on the Issue of

   Preemption (Doc. 200). In the 3/28 Order, the Court stated:

          After consideration of all parties’ positions and consultation with Judge Wilson, the
          Court concludes that maintaining Phase I continues to have value. Having now
          reviewed the preemption motion, the Court remains convinced that the preemption
          issue should be decided prior to class or merits discovery and prior to consideration
          of other motions. However, the Court now has a more realistic view of the discovery
          required for resolution of the preemption motion, and it is more extensive than
          Defendant forecasted at the initial hearing. Defendant’s preemption motion relies
          upon evidence regarding its communications with FDA and its manufacturing
          process, both of which Plaintiffs are entitled to explore before responding to the

          1
            This Opinion and Order assumes familiarity with the 3/28 Order, which is incorporated
   by reference.

                                                                       c/all counsel
Case 4:16-md-02700-TCK-JFJ Document 207 Filed in USDC ND/OK on 05/08/17 Page 2 of 17




          motion. As observed by Judge Wilson . . . , the preemption defense opened doors in
          discovery that may well have stayed closed if the only issue was breach of a state-law
          warranty. Thus, while the Court still believes Phase I is in the interest of judicial
          economy, the Court no longer views Phase I as a short and expedited process with
          limited discovery. Instead, the Court anticipates that “preemption discovery” may
          take significant additional time and effort. The Court will set a Phase I discovery
          deadline six months from this date. The Court is hopeful that future phases of the
          litigation (if they occur) are expedited by the discovery efforts undertaken during
          Phase I.

   (Doc. 187 at 5-6.) After offering these broad observations regarding discovery, the Court noted that

   Judge Wilson would decide the specific pending discovery motions.

          Effective April 17, 2017, Judge Wilson resigned from his position, and there is currently no

   magistrate judge assigned to this action. Therefore, the Court hereby withdraws reference of the

   pending discovery motions and resolves the pending discovery disputes by this written Order. The

   Court has reviewed the briefing on the two pending motions, the JDS, and transcripts of the hearings

   conducted by Judge Wilson.

   II.    Legal Standard

          Federal Rule of Civil Procedure 26(b)(1) provides:

          Parties may obtain discovery regarding any nonprivileged matter that is relevant to
          any party’s claim or defense and proportional to the needs of the case, considering
          the importance of the issues at stake in the action, the amount in controversy, the
          parties’ relative access to relevant information, the parties’ resources, the importance
          of the discovery in resolving the issues, and whether the burden or expense of the
          proposed discovery outweighs its likely benefit. Information within this scope of
          discovery need not be admissible in evidence to be discoverable.

   The Advisory Committee Note to the 2015 Amendment explains that the proportionality language

   now contained in Rule 26(b)(1) “restores the proportionality factors to their original place in defining

   the scope of discovery,” but is not intended to “place on the party seeking discovery the burden of

   addressing all proportionality considerations.” Fed. R. Civ. P. 26, Adv. Comm. Notes, 2015


                                                      2
Case 4:16-md-02700-TCK-JFJ Document 207 Filed in USDC ND/OK on 05/08/17 Page 3 of 17




   Amendment.

          In addition to proportionality considerations explained above, a court “must limit the

   frequency or extent of discovery” if the Court determines: (1) the discovery sought is unreasonably

   cumulative or duplicative, or can be obtained from a less burdensome source; (2) the party seeking

   discovery has had ample opportunity to obtain the information; or (3) the discovery is outside the

   scope of Rule 26(b)(1). Fed. R. Civ. P. 26(b)(2)(C)(i)-(iii). Further, with respect to electronically

   stored information (“ESI”), a party need not provide discovery if a party shows that the ESI is “from

   sources that are not reasonably accessible because of undue burden or cost,” unless the requesting

   party then shows good cause. Fed. R. Civ. P. 26(b)(2)(B).

   III.   Plaintiffs’ Motion to Compel (Doc. 64)

          The Court has organized its rulings on Plaintiffs’ Motion to Compel by categories, in

   accordance with the JDS.

          A.      Genentech’s Correspondence with Food and Drug Administration (“FDA”)
                  Regarding Herceptin Labeling (I on JDS)

                  1.      Rulings

   Request No. 6 (June 2016) - Produce all correspondence between Genentech and the FDA relating

   to Herceptin’s Labeling, including but not limited to correspondence relating to the “Chemistry,

   Manufacturing and Controls” section of the Herceptin Biologics License Application (“BLA”)

   submitted to the FDA by Genentech. - GRANTED. Requested discovery shall be produced from

   Defendant’s described regulatory database and custodial files.

   Request No. 15 (June 2016) - Produce all Establishment Inspection Reports, FDA Form 483s, and

   Warning Letters issued by the FDA relating to the labeling of Herceptin, the amount of Herceptin



                                                    3
Case 4:16-md-02700-TCK-JFJ Document 207 Filed in USDC ND/OK on 05/08/17 Page 4 of 17




   contained in a multi-dose vial (either in the form of Herceptin Cake or reconstituted Herceptin

   solution), or the concentration of Trastuzumab in the reconstituted Herceptin solution. - GRANTED.

   Requested discovery shall be produced from Defendant’s described regulatory database.

                  2.      Analysis - Communications After FDA Approval

          Plaintiffs argue that this discovery is relevant to overcoming Defendant’s impossibility

   preemption defense. According to Plaintiffs, this evidence is relevant to whether Defendant can

   show “clear evidence that the FDA would not have approved a change to [Herceptin’s] label.” See

   Wyeth v. Levine, 555 U.S. 555, 571 (2009). Defendant contends that the proper inquiry is whether

   Defendant could “independently do under federal law what state law requires of it,” PLIVA, Inc. v.

   Mensing, 564 U.S. 604, 620 (2011), and that it could not, as a matter of law, make a unilateral label

   change that would satisfy the state-law obligation alleged in Plaintiffs’ Complaint. Therefore,

   Defendant argues, no further discovery should be permitted.

          A trilogy of Supreme Court decisions on impossibility preemption – Wyeth v. Levine, 555

   U.S. 555 (2009); PLIVA, Incorporated v. Mensing, 564 U.S. 604 (2011); Mutual Pharmaceutical

   Company, Incorporated v. Bartlett, 133 S. Ct. 2466 (2013) – invite dispute over the standard

   applicable to Defendant’s impossibility preemption argument. See Bartlett, 133 S. Ct. at 2480

   (explaining that Court “would welcome Congress’ explicit resolution of the difficult pre-emption

   questions that arise in the prescription drug context” and that the issue “has repeatedly vexed the

   Court – and produced widely divergent views – in recent years”) (citing Wyeth and Mensing).

   Further, none of the three cases is a precise factual fit because: (1) the defendants in Mensing and

   Bartlett were generic drug manufacturers, unlike Defendant; and (2) the underlying state-law claims

   involved failures to warn or design defects that caused personal injuries, unlike Plaintiffs’ claims.


                                                    4
Case 4:16-md-02700-TCK-JFJ Document 207 Filed in USDC ND/OK on 05/08/17 Page 5 of 17




          For purposes of discovery, the Court need not (and does not) reach a conclusion as to how

   these decisions will ultimately apply to the evidence. The Court is satisfied that Wyeth is not wholly

   inapplicable, expressly overruled by subsequent cases, or otherwise irrelevant to Defendant’s

   impossibility preemption argument. Defendant argues that it is not raising a Wyeth-type preemption

   defense and that Plaintiffs “have no need for discovery relating to an argument [it] will never make.”

   (JDS 10 n.5.) This Court – and not Defendant – will ultimately decide how to apply Supreme Court

   law to the evidence presented. Plaintiffs are entitled to advocate for the Wyeth standard, and their

   requested discovery is relevant to the impossibility preemption analysis in Wyeth. See 555 U.S. at

   1196-97 (discussing record evidence as to defendant’s awareness of prior incidents, its

   communications with FDA, and that it “worked with the agency to change Phenergan’s label” over

   thirty years prior to the injury suffered in 2000).

          Even assuming Plaintiffs’ sole method of defeating impossibility preemption is showing that

   Defendant could have unilaterally changed its label under 21 C.F.R. § 601.12(f)(2)(i)(c) – as argued

   by Defendant – the requested discovery is also relevant to that inquiry. Specifically, the discovery

   is relevant to whether Defendant could have submitted a unilateral labeling change to “reflect newly

   acquired information . . . to accomplish . . . add[ing] or strengthen[ing] an instruction about dosage

   and administration that is intended to increase the safety of the use of the product.” 21 C.F.R. §

   601.12(f)(2)(i)(c). Defendant contends that Plaintiffs cannot possibly uncover any “newly acquired

   information” because FDA knew about and approved a particular protein content range when the

   drug was approved, which ends the inquiry. (See JDS 12 n.7.) In so arguing, Defendant essentially

   urges the Court to credit its expert’s testimony rather than allow Plaintiffs the opportunity to develop

   their own evidence and method of responding to the preemption arguments. The Court rejects this


                                                         5
Case 4:16-md-02700-TCK-JFJ Document 207 Filed in USDC ND/OK on 05/08/17 Page 6 of 17




   approach and finds the requested discovery relevant to impossibility preemption under both parties’

   proposed standards.

           With respect to proportionality, granting these discovery requests will require search of an

   extensive regulatory database containing over four million documents, according to Defendant. The

   Court finds this proportional to the needs of the case, considering the importance of the issues raised

   in this multi-district litigation action, the substantial amount in controversy, Defendant’s access to

   relevant information, Defendant’s resources, and the importance of the discovery in resolving the

   issues. Defendant elected to raise both obstacle and impossibility preemption to defeat Plaintiffs’

   claims. Plaintiffs will be deprived of resolution of their state-law claims if the defense is successful.

   The burden on Defendants does not outweigh the likely benefit of the Court being assured that, when

   and if it dismisses Plaintiffs’ claims with prejudice based on federal preemption, it does so based on

   a fair and complete evidentiary record rather than on Defendant’s version of scientific and other

   evidence. It is not unusual to impose significant discovery burdens on a defendant or to have a

   lengthy discovery period on federal preemption in the prescription-drug context. See Dobbs v. Wyeth

   Pharm., 797 F. Supp. 2d 1264, 1280 (W.D. Okla. 2011) (discussing extensive evidentiary record on

   issue of federal preemption); Pinsonneault v. St. Jude Med., Inc., No. 12-CV-1717 PJS/JSM, 2014

   WL 2879754, at *3 (D. Minn. June 24, 2014) (noting that plaintiffs “had an entire year to conduct

   discovery on the issue of preemption”).

                   3.      Analysis - Communications Before FDA Approval

           Request No. 6 extends to communications occurring before FDA approval, which requires

   additional analysis. The Court finds that communications occurring prior to FDA approval relating

   to the “Chemistry, Manufacturing and Controls” section of the BLA are relevant to obstacle


                                                      6
Case 4:16-md-02700-TCK-JFJ Document 207 Filed in USDC ND/OK on 05/08/17 Page 7 of 17




   preemption. Defendant argues that compliance with the alleged state-law standard would pose an

   “obstacle” to the federal regulatory scheme permitting reasonable variations in food and drug

   packages, as set forth in part in 21 C.F.R. § 201.51(g), and the specific variation permitted by FDA

   regarding Herceptin. Plaintiffs are entitled to discovery on the approval process for the purpose of

   exploring whether FDA “weighed the competing interests relevant to the particular requirement in

   question, reached an unambiguous conclusion about how those competing interests should be

   resolved . . . , and implemented a conclusion via a specific mandate . . . .” Farina v. Nokia Inc., 625

   F.3d 97, 125 (3d Cir. 2010) (cited by Defendant as relevant inquiry regarding obstacle preemption).

   This is distinguishable from using the evidence to prove Defendant committed fraud on FDA or that

   FDA did a sub-standard job of reviewing Defendant’s BLA.

          Although discoverable for purposes of obstacle preemption, the Court clarifies that

   communications occurring prior to FDA approval are not relevant to impossibility preemption. See

   In re Celexa & Lexapro Mktg. & Sales Practices Litig., 779 F.3d 34, 41 (1st Cir. 2015) (“Wyeth

   effectively reserves the launch of new drugs to the expertise of the FDA, but then preserves a wide

   scope for the states in requiring manufacturers to respond to information not considered by the

   FDA.”). Nor are they relevant to assist Plaintiffs in showing that Defendant committed fraud or

   made misleading statements to the FDA regarding Herceptin during the approval process. In re

   Incretin Mimetics Prod. Liab. Litig., No. 13MD2452 AJB MDD, 2014 WL 4987877, at *4 (S.D. Cal.

   Oct. 6, 2014) (holding that policy underlying the Supreme Court’s holding in Buckman Company

   v. Plaintiffs’ Legal Committee, 531 U.S. 341 (2001), precludes Plaintiffs from “asserting

   fraud-on-the-FDA type claims as a defense to federal preemption or as other-wise relevant to a

   preemption analysis”).


                                                     7
Case 4:16-md-02700-TCK-JFJ Document 207 Filed in USDC ND/OK on 05/08/17 Page 8 of 17




          B.     Documents Regarding the FDA Approval Process (II on JDS)

                 1.      Rulings

          Request No. 4 (Oct. 2015) - Produce all documents and communications related to the FDA

   approval process for Herceptin. - GRANTED. Requested discovery shall be produced from

   Defendant’s described regulatory database and custodial files.

          Request No. 7 (June 2016) - Produce all “Changes Being Effected” submitted to the FDA

   by Genentech relating to Herceptin - GRANTED. Requested discovery shall be produced from

   Defendant’s described regulatory database.

          Request No. 9 (June 2016) - Produce all documents relating to the FDA’s approval of

   Herceptin Labeling including its approval of any modifications to that labeling - GRANTED.

   Requested discovery shall be produced from Defendant’s described regulatory database and

   the custodial files of Dhushy Thambipilai, Ehab Taqiedden, and any other individuals who

   have had substantive involvement with FDA’s approval of Herceptin labeling, including any

   modifications thereto.

                 2.      Analysis

          The Court adopts its reasoning in Part III.A.2 and III.A.3.

          C.     Documents Regarding Herceptin Labeling (III on JDS)

                 1.      Rulings

          Request No. 3 (Oct. 2015): Produce all documents and communications concerning the

   Herceptin label and Prescribing Information for the years 1997 through the present - GRANTED

   in part. Requested discovery shall be produced from Defendant’s described regulatory

   database, custodial files, complaints database, information request database, and Herceptin

                                                   8
Case 4:16-md-02700-TCK-JFJ Document 207 Filed in USDC ND/OK on 05/08/17 Page 9 of 17




   Touchpoint site. However, documents that exclusively address warnings/safety concerns that

   are unrelated to the amount or concentration of the Herceptin vials need not be produced.

            Request No. 10 (June 2016): Produce all documents relating to the removal of the reference

   to a “yield[]” of “21 mL of a multi-dose solution” from the Herceptin Prescribing Information,

   including but not limited to all correspondence with FDA on that topic. - GRANTED. Requested

   discovery shall be produced from Defendant’s described regulatory database and custodial

   files.

                   2.      Analysis

            With respect to these requests, the Court adopts its reasoning in Part III.A.2 and III.A.3. In

   addition to that reasoning, the Court finds that Plaintiffs must be able to test Defendant’s expert’s

   assertion that Defendant could not consistently fill the vials with more than 440 mg of Trastuzamab

   without making changes that would require FDA approval.

            D.      Documents Concerning Mass, Volume, or Concentration (IV on JDS)

                   1.      Rulings

            Request No. 5 (Oct. 2015) - Produce all documents and communications between Genentech

   and any person concerning the mass, volume, or density of the medicine available in a Herceptin

   vial. - GRANTED. Requested discovery shall be produced from Defendant’s described

   regulatory database, custodial files, complaints database, and information request database.

   This includes but is not limited to production from the custodial files of Dana Swisher, Toshiro

   Carcelen, Hung-Wei Chich, Raquel Iverson, Xanthe Lam, Karina Padilla, and Camellia

   Zamiri.




                                                      9
Case 4:16-md-02700-TCK-JFJ Document 207 Filed in USDC ND/OK on 05/08/17 Page 10 of 17




           Request No. 6 (Oct. 2015) - Produce all studies related to the mass, volume, or density of

    the medicine in a Herceptin vial. - GRANTED. Requested discovery shall be produced from

    Defendant’s described regulatory database and custodial files. This includes but is not limited

    to production from the custodial files of Dana Swisher, Toshiro Carcelen, Hung-Wei Chich,

    Raquel Iverson, Xanthe Lam, Karina Padilla, and Camellia Zamiri.

           Request No. 7 (Oct. 2015) - Produce all documents concerning the density of multi-dose

    Herceptin if the medicine is reconstituted following the directions in the Prescribing Information. -

    GRANTED. Requested discovery shall be produced from Defendant’s described regulatory

    database and custodial files. This includes production from the custodial files of Dana

    Swisher, Toshiro Carcelen, Hung-Wei Chich, Raquel Iverson, Xanthe Lam, Karina Padilla,

    and Camellia Zamiri.

           Request No. 13 (June 2016): Produce the results of all testing and measurements done to

    determine the concentration of the reconstituted solution in each vial of the drug. - GRANTED.

    Requested discovery shall be produced from Defendant’s described regulatory database and

    custodial files. This includes but is not limited to production from the custodial files of Dana

    Swisher, Toshiro Carcelen, Hung-Wei Chich, Raquel Iverson, Xanthe Lam, Karina Padilla,

    and Camellia Zamiri.

                   2.      Analysis

           With respect to these requests, the Court adopts its reasoning in Part III.A.2 and III.A.3. The

    Court rejects Defendant’s argument that, even if additional documents exist, they would be

    cumulative and would not “meaningfully alter the preemption analysis.” (JDS 38.) Defendant

    produced documents and relies upon documents that provide Plaintiffs a preview of what else may


                                                     10
Case 4:16-md-02700-TCK-JFJ Document 207 Filed in USDC ND/OK on 05/08/17 Page 11 of 17




    exist in its internal files but then asks the Court to limit Plaintiffs’ discovery to its current

    production. The Court recognizes and commends Defendant’s substantial discovery efforts thus far;

    however, the Court is not persuaded that Plaintiffs are engaged in an overly burdensome fishing

    expedition. If one document certainly exists saying “x,” – which is relevant to overcoming a

    preemption defense – it is not overly speculative that other similar documents exist in Defendant’s

    files.

             E.      Documents Regarding Patheon’s Herceptin Production (V on JDS)

                     1.      Rulings

             Request No. 1 - Produce all documents, agreements or communications involving Genentech

    and Patheon, Inc. (formerly known as Dutch State Mines Pharmaceuticals, Inc.) that contain or

    reference manufacturing or production standards or processes for Herceptin. - GRANTED.

    Requested discovery shall be produced from Defendant’s described regulatory database and

    custodial files. Defendant shall produce any relevant Supply Agreements and Quality

    Agreements between Defendant and Patheon.

             Request No. 2 - Produce all records that identify or reference any lot manufactured by

    Patheon, Inc. (formerly known as Dutch State Mines Pharmaceuticals, Inc.), but not accepted

    unconditionally by Genentech. - GRANTED. Responsive discovery contained in the Annual

    Product Quality Reviews shall be produced.

             Request No. 3 - Produce all quality control, process control, or other audits that refer or relate

    to the work done by Patheon, Inc. (formerly known as Dutch State Mines Pharmaceuticals, Inc.) for

    Genentech. - GRANTED. Responsive discovery contained in the Annual Product Quality

    Reviews, Certificates of Analysis Quality Agreements, or reports of periodic audits shall be


                                                        11
Case 4:16-md-02700-TCK-JFJ Document 207 Filed in USDC ND/OK on 05/08/17 Page 12 of 17




    produced.

                    2.      Analysis

            The Court adopts its reasoning in Part III.A.2 and III.A.3. In addition, the Court finds that

    Plaintiffs are entitled to explore (1) the accuracy of Swisher’s declaration that raising the lower fill

    limit would simultaneously raise the upper fill limit; and (2) whether noticeable shifts occurred in

    the amount of Herceptin in each vial during various time periods. Defendants argue that the number

    of rejected lots is irrelevant because these batches never reached customers. However, Phase I –

    necessitated by Defendant’s preemption defense – is not devoted to the substantive claims. In Phase

    I, Plaintiffs are entitled to discovery relevant to defeating the preemption argument, which includes

    (even under the narrowest legal inquiry) whether Defendant acquired new information that would

    have permitted a unilateral label change.

            F.      Drafts of the Chemistry, Manufacturing, and Controls Section of the BLA
                    (VI on JDS)

                    1.      Rulings

            Request No. 4 (June 2016) - Produce all draft versions of the “Chemistry, Manufacturing

    and Controls” section of the Herceptin Biologics License Application submitted to the FDA by

    Genentech. - GRANTED. Requested discovery shall be produced from Defendant’s described

    regulatory database and custodial files.

            Request No. 5 (June 2016) - Produce all supplements or amendments, including draft

    versions, to the “Chemistry, Manufacturing and Controls” section of the Herceptin Biologics License

    Application submitted to the FDA by Genentech. GRANTED. Requested discovery shall be

    produced from Defendant’s described regulatory database and custodial files.



                                                      12
Case 4:16-md-02700-TCK-JFJ Document 207 Filed in USDC ND/OK on 05/08/17 Page 13 of 17




                   2.      Analysis

           The Court grants these requests based upon its reasoning in Part III.A.2 and/or Part III.A.3

    and for consistency with its rulings in Part III.B.

           However, as explained in Part III.A.3, the Court rejects Plaintiffs’ argument that “if draft

    versions of the BLA or its supplements or amendments indicate [Defendant] knew those numbers

    were inaccurate or misleading, this would show [Defendant] could have used the correct number in

    the BLA and its original labeling.” (JDS 48.) This is an impermissible “fraud on the FDA”

    argument.     The Court also rejects Plaintiffs’ reliance on Trahan v. Sandoz, Inc., No.

    3:13-CV-350-J-34MCR, 2015 WL 2365502 (M.D. Fla. Mar. 26, 2015). In Trahan, the court denied

    a generic drug manufacturer’s motion to dismiss based on impossibility preemption, reasoning that,

    although regulations prevented the defendant from altering its glass container after FDA approval,

    no relevant regulations prevented the defendant from choosing a safer glass vial prior to FDA

    approval. Id. at *6. The plaintiff alleged the defendant “breached its duty to design a reasonably safe

    product when it initially selected the defective glass, prior to FDA approval.” Id. The court had

    concluded that, in contrast to quality/quantity requirements for generic drugs, the FDA did not appear

    to require identical packaging for generic drugs – meaning federal law did not make it impossible

    to comply with state-law design safety standards. Here, Defendant is a brand-name manufacturer

    who submitted a new drug application, and any allegedly “inaccurate or misleading” information was

    part and parcel of the approval process. Therefore, the Court grants these requests but not for the

    purpose of showing that Defendant somehow misled FDA during the approval process.




                                                      13
Case 4:16-md-02700-TCK-JFJ Document 207 Filed in USDC ND/OK on 05/08/17 Page 14 of 17




           G.     Interrogatories Seeking Identity of Individuals (VII on JDS)

                  1.      Rulings

           Interrogatory No. 2 (Oct. 2015) - Identify each person who was employed by, affiliated with,

    or acting in an agent capacity for Genentech and has knowledge regarding the following matters:

    ...

    (c) The Herceptin label and Prescribing Information - GRANTED in part. Defendant shall

    identify all current employees and the two former employees who are most likely to have

    relevant information.

    (d) The FDA approval of Herceptin, its label, and its Prescribing Information - GRANTED in part.

    Defendant shall make efforts to identify all current employees and the two former employees

    who are most likely to have relevant information.

    Interrogatory No. 10 (October 2015) - Identify all persons who helped prepare each change to the

    Herceptin label and Prescribing Information identified in response to Interrogatory No. 9. -

    GRANTED in part. Defendant shall make efforts to identify all current employees and the two

    former employees who are most likely to have relevant information.

    Interrogatory No. 11 (June 2016) - Identify all persons and/or entities who have determined the

    concentration of the reconstituted Herceptin solution in any vial of the drug. - GRANTED in part.

    Defendant shall make efforts to identify all current employees and the two former employees

    who are most likely to have relevant information.

                  2.      Analysis

           These interrogatories are relevant for the same reasons articulated in Part III.A.2 and III.A.3.

    The Court limits the number of former employees to two in order to avoid an overly burdensome


                                                     14
Case 4:16-md-02700-TCK-JFJ Document 207 Filed in USDC ND/OK on 05/08/17 Page 15 of 17




    inquiry for Defendant. Defendant should focus its efforts on identifying individuals who are most

    likely to have relevant information.

    IV.     Defendant’s Motion for Protective Order (Doc. 124)

            Plaintiffs issued subpoenas to the following third parties: Patheon Pharmaceutical Services,

    Inc. and Patheon Manufacturing Services LLC (collectively, “Patheon”); Cardinal Health; McKesson

    Specialty Health CuraScript, Inc.; US Oncology Pharmaceutical Services, LLC; Oncology

    Therapeutics Network Corporation; Besse Medical; Integrated Commercialization Solutions, Inc.

    dba BioSolutions Direct; ASD Specialty Healthcare, Inc.; and AmerisourceBergen Specialty Group,

    Inc. (collectively, “Distributors”).

            A.      Patheon

                    1.      Rulings

    1) All documents, agreements or communications involving Patheon Pharmaceutical Services and

    Genentech that contain or reference manufacturing or production specifications, standards, or

    processes for multi-dose vials of Herceptin. - DENIED.

    2) All records that identify or reference any lot of Herceptin manufactured by Patheon

    Pharmaceutical Services that was not accepted unconditionally by Genentech. - DENIED.

    3) All quality control, process control, or other audits that refer or relate to the work done by Patheon

    Pharmaceutical Services for Genentech. - DENIED in part. The Court compels production of

    all quality control, process control, or other audits that refer or relate to the work done by

    Patheon Pharmaceutical Services for Genentech in relation to Herceptin.

    4) All communications from Genentech, or a person or entity acting on its behalf, to Patheon

    Pharmaceutical Services about either (i) target fill weight for the harvested drug substance to be used


                                                       15
Case 4:16-md-02700-TCK-JFJ Document 207 Filed in USDC ND/OK on 05/08/17 Page 16 of 17




    in multi-dose vials of Herceptin, or (ii) target vial fill for multi-dose vials of Herceptin. - DENIED.

                   2.      Analysis

           With respect to the subpoena issued to Patheon, a contract manufacturer of Herceptin,

    Defendant argues that it has produced all documents possibly relevant to preemption and that

    Patheon “cannot make changes to the Herceptin manufacturing, specification, or labeling - unilateral

    or otherwise.” (Mot. for Protective Order 9.) Plaintiffs make the same relevance arguments

    discussed above in Part III.A.2 regarding impossibility preemption and contend Patheon’s documents

    are relevant to, inter alia: (1) testing Swisher’s assertions regarding the manufacturing process and

    the effect of modifications thereof on the FDA-approved protein content specification; and (2)

    determining the cause of shifts in average fill weights.

           For the same reasons explained in Part III.A.2 and Part III.E.2, the Court finds these

    documents relevant to impossibility preemption. With the addition of language limiting production

    to documents relating to Herceptin, the Court finds the requests not overly broad or burdensome.

           B.      Distributors

                   1.      Rulings

    1) All communications, complaints or inquiries, received by You from a practice group, or made by

    You to Genentech about the mass, concentration, or reconstituted volume of multi-dose vials of

    Herceptin. - DENIED.

    2) All communications, responses, and documents received from Genentech about any complaint

    or inquiry concerning the mass, concentration, or reconstituted volume of multi-dose vials of

    Herceptin. - DENIED.

    3) All communications, complaints or inquiries made to the FDA about the mass, concentration, or


                                                      16
Case 4:16-md-02700-TCK-JFJ Document 207 Filed in USDC ND/OK on 05/08/17 Page 17 of 17




    reconstituted volume of multi-dose vials of Herceptin. - DENIED.

    4) All communications, responses, and documents received from the FDA about any complaint or

    inquiry concerning the mass, concentration, or reconstituted volume of multi-dose vials of Herceptin.

    - DENIED.

                   2.      Analysis

           These requests are relevant for the reasons articulated in Part III.A.2.

    V.     Conclusion

           Plaintiffs’ Motion to Compel (Doc. 64) is GRANTED in part and DENIED in part as set

    forth herein. Defendant’s Motion for Protective Order (Doc. 124) is DENIED.2 The parties are

    Ordered, as soon as practicable, to meet and confer to discuss ESI protocols, including any necessary

    negotiation of agreed-upon search terms or other negotiations necessitated by this Order.

           This Court will rule on Plaintiffs’ First Application to Remove Confidential Designation

    from Genentech Produced Documents (Doc. 179) by written Order.

           If there are other outstanding discovery issues, the parties shall file a Second Joint Discovery

    Submission outlining the remaining issues no later than three weeks from the date of this Order.

           Plaintiff’s Motion for Discovery Conference (Doc. 205) is DENIED as moot.

           SO ORDERED this 8th day of May, 2017.




           2
             This Opinion and Order rules upon and terminates the identical motions to compel and
    motions for protective order filed in the underlying consolidated cases.

                                                     17
